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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ADVANCED DYNAMIC INTERFACES, LLC,

                      Plaintiff,
                                                       Civil Action No.
               v.
                                                       JURY TRIAL DEMANDED
MICROSOFT CORPORATION,

                      Defendant.


                      COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Advanced Dynamic Interfaces, LLC (“ADI” or “Plaintiff”), by way of

Complaint against the above-named defendant (“Defendant”), alleges the following:

                                   NATURE OF THE ACTION

       1.      This is an action for patent infringement arising under the Patent Laws of the

United States, 35 U.S.C. § 1 et seq.

                                        THE PARTIES

       2.      Plaintiff ADI is a limited liability company organized under the laws of the State

of Texas with its principal place of business at 106 Fannin Avenue, Round Rock, Texas 78664.

       3.      Defendant Microsoft Corporation (“Microsoft”) is a corporation organized under

the laws of the State of Washington with its principal place of business at 1 Microsoft Way,

Redmond, Washington 98052.

                                   JURISDICTION AND VENUE

       4.      This is an action for patent infringement arising under the Patent Laws of the

United States, Title 35 of the United States Code.

       5.      This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338.




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        6.      On information and belief, Microsoft is subject to the jurisdiction of this Court by

reason of its acts of patent infringement which have been committed in this Judicial District. For

instance, Microsoft maintains a retail store at 137 Christiana Mall, Newark, DE 19702. In

addition, Microsoft operates an interactive website at www.microsoftstore.com where at least

some of the software products accused of infringement herein can be ordered by Delaware

residents, for shipping or electronic transmission to such Delaware residents in Delaware. As

such, Microsoft has purposefully availed itself of the privilege of conducting business within this

Judicial District; has established sufficient minimum contacts with this Judicial District such that

it should reasonably and fairly anticipate being haled into court in this Judicial District; has

purposefully directed activities at residents of this State; and at least a portion of the patent

infringement claims alleged herein arise out of or are related to one or more of the foregoing

activities.

        7.      Venue is proper in this judicial district under 28 U.S.C. §§ 1391(c) and 1400(b).

                                     THE PATENTS-IN-SUIT

        8.      The allegations set forth in the foregoing paragraphs 1 through 7 are hereby

realleged and incorporated herein by reference.

        9.      On June 13, 2006, United States Patent No. 7,062,502 (“the ’502 Patent”), entitled

“Automated Generation of Dynamic Data Entry User Interface for Relational Database

Management Systems,” was duly and legally issued by the United States Patent and Trademark

Office. A true and correct copy of the ’502 Patent is attached as Exhibit A to this Complaint.

        10.     ADI is the assignee and owner of the right, title and interest in and to the ’502

Patent, including the right to assert all causes of action arising under said patent and the right to

any remedies for infringement of it.




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       11.     On July 15, 2008, United States Patent No. 7,401,094 (“the ’094 Patent”), entitled

“Automated Generation of Dynamic Data Entry User Interface for Relations Database

Management Systems,” was duly and legally issued by the United States Patent and Trademark

Office. A true and correct copy of the ’094 Patent is attached as Exhibit B to this Complaint.

       12.     ADI is the assignee and owner of the right, title and interest in and to the ’094

Patent, including the right to assert all causes of action arising under said patent and the right to

any remedies for infringement of it.

               COUNT I – INFRINGEMENT OF U.S. PATENT No. 7,062,502

       13.     The allegations set forth in the foregoing paragraphs 1 through 12 are hereby

realleged and incorporated herein by reference.

       14.     In violation of 35 U.S.C. § 271(a), Microsoft has directly infringed and continues

to directly infringe, both literally and under the doctrine of equivalents, the ’502 Patent by

making, using, offering for sale, selling, and importing software that practices the subject matter

claimed in one or more claims of the ’502 Patent (the “’502 Patent Accused Products”),

including but not limited to claim 1, within this Judicial District without the authority of ADI,

and by performing methods that practice the subject matter claimed in one or more claims of the

’502 Patent, including but not limited to claim 13, in the United States without the authority of

ADI. For example, Microsoft has directly infringed the ’502 Patent by making and selling

Microsoft LightSwitch, including as part of Microsoft Visual Studio LightSwitch, Microsoft

Visual Studio 2012, and Microsoft Visual Studio 2013, and other products in the Microsoft

Visual Studio family. Upon information and belief, Microsoft has also directly infringed the

’502 Patent by its own internal use and testing of the ’502 Patent Accused Products and by

providing support, consulting, and other services related to the ’502 Patent Accused Products.




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Collectively, the activities described in this paragraph shall be referred to as “the ’502 Patent

Accused Activities.”

       15.     ADI provided actual notice to Microsoft of its infringement of the ’502 Patent in a

letter sent by certified mail on June 25, 2014. In that letter, ADI informed Microsoft that

Microsoft was infringing the ’502 Patent by making, using, offering for sale, selling, and

importing software that contains the claimed features for automatically generating a graphical

user interface for a database, as well as Microsoft’s provision of support, consulting, and other

related services utilizing such software and features. ADI’s letter further informed Microsoft

that the products and services which infringe the ’502 Patent include Microsoft LightSwitch

(including as part of Microsoft Visual Studio LightSwitch, Microsoft Visual Studio 2012, and

Microsoft Visual Studio 2013), products and services based on Microsoft LightSwitch, and

Microsoft’s services that utilize Microsoft LightSwitch.

       16.     ADI’s letter also informed Microsoft that Microsoft was inducing infringement of

the ’502 Patent by actively aiding and abetting others, including Microsoft’s customers, partners,

and end users, to engage in actions that constitute direct infringement of the ’502 Patent. ADI’s

letter identified such acts of direct infringement being induced by Microsoft as including:

(1) performing the steps of the method claims (including, for example, claim 13 of the ’502

Patent) in connection with use of the ’502 Patent Accused Products; (2) using the ’502 Patent

Accused Products; and, (3) combining the ’502 Patent Accused Products with each other or with

other components to form the claimed invention. ADI’s letter explained that Microsoft was

actively inducing others to engage in these actions by advertising, offering for sale, and selling

the ’502 Patent Accused Products, and by providing user manuals, product documentation, and

other instructions regarding the use of the features of the ’502 Patent Accused Products for




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automatically generating a graphical user interface for a database. ADI’s letter also specifically

identified a series of “LightSwitch ‘How Do I?’ Videos” posted on Microsoft’s website and

explained that those videos instructed Microsoft’s customers, partners, and end users how to use

the Microsoft LightSwitch software so that each step of at least claim 13 of the ’502 Patent is

performed.

        17.     ADI’s letter also informed Microsoft that it was contributing to infringement of

the ’502 Patent by providing the ’502 Patent Accused Products to others, including Microsoft’s

partners, customers, and end users, that the ’502 Patent Accused Products constitute a material

part of the invention, were especially made or especially adapted for use in an infringement of

the ’502 Patent, and have no substantial non-infringing uses. ADI’s letter also explained that the

’502 Patent Accused Products constitute a material part of the claimed invention at least because

they contain the components that automatically generate a graphical user interface for a database,

as claimed in the ’502 Patent. Further, letter explained that the ’502 Patent Accused Products

were made or especially adapted for use in an infringement of the ADI Patents and have no

substantial non-infringing uses at least because they contain components whose only purpose is

to automatically generate a graphical user interface for a database as claimed in the ’502 Patent.

        18.     ADI’s letter further informed Microsoft that the ’502 Patent Accused Products

satisfied all of the limitations of at least claims 1 and 13 of the ’502 Patent in at least the

following manner:

                a.      Microsoft LightSwitch’s “Attach Data Source” feature extracts schema

information from a relational database and automatically generates corresponding schema and

graphical user interface metadata (e.g. in the form of XML, XAML, LSML, and/or JSON) for

storing in a repository;




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                b.      Microsoft LightSwitch’s runtime software and libraries automatically

develop at runtime, from the stored metadata, a graphical user interface appropriate to the

relational database; and

                c.      Microsoft LightSwitch’s “Write my own method” feature permits addition

of non-automatically generated functionality to the developed user interface including, the

addition of scripts (e.g. in JavaScript).

        19.     Microsoft has had actual knowledge of the ’502 Patent and its infringement of

that patent since at least the date that Microsoft received the June 25, 2014 letter.

        20.     Upon information and belief, Microsoft also obtained actual knowledge of the

’502 Patent due to the citation of the ’502 Patent during prosecution of at least the following

patents issued to Microsoft: U.S. Patent Nos. 7,251,653, 7,434,170, 7,526,501, 7,546,286,

7,546,291, 7,676,493, 7,685,561, 7,716,168, 7,743,026, 7,814,093, 7,853,961, 8,095,565,

8,135,755, 8,209,355, and 8,381,113.

        21.     Upon information and belief, Microsoft has committed and continues to commit

acts of contributory infringement of at least claim 13 of the ’502 patent under 35 U.S.C. § 271(c)

by offering to sell and selling products, including the ’502 Patent Accused Products, to others

including its customers, partners, and end users knowing or willfully blind to the fact that that

these products constitute a material part of the invention, were especially made or especially

adapted for use in an infringement of the ’502 Patent, and have no substantial non-infringing

uses.

        22.     In particular, the ’502 Patent Accused Products constitute a material part of the

claimed invention at least because they implement an automatic graphical user interface

generation feature which is used by Microsoft’s customers, partners, and end users to perform all




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of the steps recited in claim 13 of the ’502 Patent. The ’502 Patent Accused Products were made

or especially adapted for use in an infringement of the ’502 Patent and have no substantial non-

infringing uses at least because they contain components whose only purpose is to practice the

claimed method of automatically generating a graphical user interface for a database as recited in

claim 13 of the ’502 Patent. The use of the automatic graphical user interface generation

features in such products by Microsoft’s customers, partners, and end users constitutes direct

infringement of at least claim 13 of the ’502 Patent. Microsoft has known or remained willfully

blind to these facts since at least the date it received the notice letter from ADI notifying

Microsoft that the use of the automatic graphical user interface generation feature in the ’502

Patent Accused Products infringed the ’502 Patent.

       23.     Upon information and belief, Microsoft has induced and continues to induce

others to infringe at least claim 13 of the ’502 Patent under 35 U.S.C. § 271(b) by, among other

things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to, Microsoft’s customers, partners, and end users whose use

of the ’502 Patent Accused Products and performance of the ’502 Patent Accused Activities

constitutes direct infringement of at least claim 13 of the ’502 Patent. In particular, Microsoft’s

actions that aid and abet others such as its customers, partners, and end users to infringe include

advertising and distributing the ’502 Patent Accused Products and providing instruction

materials and training regarding the ’502 Patent Accused Products and ’502 Patent Accused

Activities. For instance, Microsoft presents a series of “LightSwitch ‘How Do I?’ Videos” on its

MSDN website at http://msdn.microsoft.com/en-us/vstudio/gg604823 which instruct users of

Microsoft LightSwitch on how to use the Microsoft LightSwitch software so that each step of

claim 13 of the ’502 Patent is performed. See, e.g., http://msdn.microsoft.com/en-




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us/vstudio/jj614423, http://msdn.microsoft.com/en-us/vstudio/ff961921. ADI’s letter to

Microsoft identified those videos and informed Microsoft that such videos induced Microsoft’s

customers, partners, and end users to infringe the ’502 Patent. On information and belief,

Microsoft has engaged in such actions with specific intent to cause infringement or with willful

blindness to the resulting infringement because, despite the fact that Microsoft has had actual

knowledge of the ’502 Patent and that its acts were inducing its customers, partners, and end

users to infringe the ’502 Patent since at least the date it received the notice letter from ADI,

Microsoft continues to perform the ’502 Patent Accused Activities, continues to sell the ‘502

Patent Accused Products, and continues to provide these instructional videos, as well as other

instruction materials and training regarding the ’502 Patent Accused Products and ’502 Patent

Accused Activities.

       24.     ADI has been harmed by Microsoft’s infringing activities.

       25.     ADI notified Microsoft of its infringement of the ’502 Patent including an

identification of the particular infringing products and features, but Microsoft thereafter

continued to infringe the ’502 Patent by continuing the activities described in Paragraphs 14-23

above. On information and belief, Microsoft has not obtained an opinion of counsel regarding

infringement or validity with respect to the claims of ‘502 Patent. Microsoft’s continued

infringement has therefore been in reckless disregard of ADI’s patent rights. On information and

belief, Microsoft’s infringement has been and continues to be willful.

              COUNT II – INFRINGEMENT OF U.S. PATENT No. 7,401,094

       26.     The allegations set forth in the foregoing paragraphs 1 through 25 are hereby

realleged and incorporated herein by reference.




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       27.     In violation of 35 U.S.C. § 271(a), Microsoft has directly infringed and continues

to directly infringe, both literally and under the doctrine of equivalents, the ’094 Patent by

making, using, offering for sale, selling, and importing software that practices the subject matter

claimed in one or more claims of the ’094 Patent (the “’094 Patent Accused Products”),

including but not limited to claim 1, within this Judicial District without the authority of ADI,

and by performing methods that practice the subject matter claimed in one or more claims of the

’094 Patent, including but not limited to claim 15, in the United States without the authority of

ADI. For example, Microsoft has directly infringed the ’094 Patent by making and selling

Microsoft LightSwitch, including as part of Microsoft Visual Studio LightSwitch, Microsoft

Visual Studio 2012, and Microsoft Visual Studio 2013, and other products in the Microsoft

Visual Studio family. Upon information and belief, Microsoft has also directly infringed the

’094 Patent by its own internal use and testing of the ’094 Patent Accused Products and by

providing support, consulting, and other services related to the ’094 Patent Accused Products.

Collectively, the activities described in this paragraph shall be referred to as “the ’094 Patent

Accused Activities.”

       28.     ADI provided actual notice to Microsoft of its infringement of the ’094 Patent in a

letter sent by certified mail on June 25, 2014. In that letter, ADI informed Microsoft that

Microsoft was infringing the ’094 Patent by making, using, offering for sale, selling, and

importing software that contains the claimed features for automatically generating a graphical

user interface for a database, as well as Microsoft’s provision of support, consulting, and other

related services utilizing such software and features. ADI’s letter further informed Microsoft

that the products and services which infringe the ’094 Patent include Microsoft LightSwitch

(including as part of Microsoft Visual Studio LightSwitch, Microsoft Visual Studio 2012, and




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Microsoft Visual Studio 2013), products and services based on Microsoft LightSwitch, and

Microsoft’s services that utilize Microsoft LightSwitch.

       29.     ADI’s letter also informed Microsoft that Microsoft was inducing infringement of

the ’094 Patent by actively aiding and abetting others, including Microsoft’s customers, partners,

and end users, to engage in actions that constitute direct infringement of the ’094 Patent. ADI’s

letter identified such acts of direct infringement being induced by Microsoft as including:

(1) performing the steps of the method claims (including, for example, claim 15 of the ’094

Patent) in connection with use of the ’094 Patent Accused Products; (2) using the ’094 Patent

Accused Products; and, (3) combining the ’094 Patent Accused Products with each other or with

other components to form the claimed invention. ADI’s letter explained that Microsoft was

actively inducing others to engage in these actions by advertising, offering for sale, and selling

the ’094 Patent Accused Products, and by providing user manuals, product documentation, and

other instructions regarding the use of the features of the ’094 Patent Accused Products for

automatically generating a graphical user interface for a database. ADI’s letter also specifically

identified a series of “LightSwitch ‘How Do I?’ Videos” posted on Microsoft’s website and

explained that those videos instructed Microsoft’s customers, partners, and end users how to use

the Microsoft LightSwitch software so that each step of at least claim 15 of the ’094 Patent is

performed.

       30.     ADI’s letter also informed Microsoft that it was contributing to infringement of

the ’094 Patent by providing the ’094 Patent Accused Products to others, including Microsoft’s

partners, customers, and end users, that the ’094 Patent Accused Products constitute a material

part of the invention, were especially made or especially adapted for use in an infringement of

the ’094 Patent, and have no substantial non-infringing uses. ADI’s letter also explained that the




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’094 Patent Accused Products constitute a material part of the claimed invention at least because

they contain the components that automatically generate a graphical user interface for a database,

as claimed in the ’094 Patent. Further, letter explained that the ’094 Patent Accused Products

were made or especially adapted for use in an infringement of the ADI Patents and have no

substantial non-infringing uses at least because they contain components whose only purpose is

to automatically generate a graphical user interface for a database as claimed in the ’094 Patent.

        31.     ADI’s letter further informed Microsoft that the ’094 Patent Accused Products

satisfied all of the limitations of at least claims 1 and 15 of the ’094 Patent in at least the

following manner:

                a.      Microsoft LightSwitch’s “Attach Data Source” feature extracts schema

information from a relational database and automatically generates corresponding schema and

graphical user interface metadata (e.g. in the form of XML, XAML, LSML, and/or JSON) for

storing in a repository; and

                b.      Microsoft LightSwitch’s runtime software and libraries automatically

develop at runtime, from the stored metadata, and without compilation of code before runtime, a

graphical user interface appropriate to the relational database.

        32.     Microsoft has had actual knowledge of the ’094 Patent and its infringement of

that patent since at least the date that Microsoft received the June 25, 2014 letter.

        33.     Upon information and belief, Microsoft also obtained actual knowledge of the

’094 Patent due to the citation of the ’094 Patent during prosecution of at least the following

patent application, which is assigned to Microsoft: U.S. Pat. App. No. 12/963,106.

        34.     Upon information and belief, Microsoft has committed and continues to commit

acts of contributory infringement of at least claim 15 of the ’094 patent under 35 U.S.C. § 271(c)




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by offering to sell and selling products, including the ’094 Patent Accused Products, to others

including its customers, partners, and end users knowing or willfully blind to the fact that that

these products constitute a material part of the invention, were especially made or especially

adapted for use in an infringement of the ’094 Patent, and have no substantial non-infringing

uses.

        35.    In particular, the ’094 Patent Accused Products constitute a material part of the

claimed invention at least because they implement an automatic graphical user interface

generation feature which is used by Microsoft’s customers, partners, and end users to perform all

of the steps recited in claim 15 of the ’094 Patent. The ’094 Patent Accused Products were made

or especially adapted for use in an infringement of the ’094 Patent and have no substantial non-

infringing uses at least because they contain components whose only purpose is to practice the

claimed method of automatically generating a graphical user interface for a database as recited in

claim 15 of the ’094 Patent. The use of the automatic graphical user interface generation

features in such products by Microsoft’s customers, partners, and end users constitutes direct

infringement of at least claim 15 of the ’094 Patent. Microsoft has known or remained willfully

blind to these facts since at least the date it received the notice letter from ADI notifying

Microsoft that the use of the automatic graphical user interface generation feature in the ’094

Patent Accused Products infringed the ’094 Patent.

        36.    Upon information and belief, Microsoft has induced and continues to induce

others to infringe at least claim 15 of the ’094 Patent under 35 U.S.C. § 271(b) by, among other

things, and with specific intent or willful blindness, actively aiding and abetting others to

infringe, including, but not limited to, Microsoft’s customers, partners, and end users whose use

of the ’094 Patent Accused Products and performance of the ’094 Patent Accused Activities




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constitutes direct infringement of at least claim 15 of the ’094 Patent. In particular, Microsoft’s

actions that aid and abet others such as its customers, partners, and end users to infringe include

advertising and distributing the ’094 Patent Accused Products and providing instruction

materials and training regarding the ’094 Patent Accused Products and ’094 Patent Accused

Activities. For instance, Microsoft presents a series of “LightSwitch ‘How Do I?’ Videos” on its

MSDN website at http://msdn.microsoft.com/en-us/vstudio/gg604823 which instruct users of

Microsoft LightSwitch on how to use the Microsoft LightSwitch software so that each step of

claim 15 of the ’094 Patent is performed. See, e.g., http://msdn.microsoft.com/en-

us/vstudio/jj614423, http://msdn.microsoft.com/en-us/vstudio/ff961921. ADI’s letter to

Microsoft identified those videos and informed Microsoft that such videos induced Microsoft’s

customers, partners, and end users to infringe the ’094 Patent. On information and belief,

Microsoft has engaged in such actions with specific intent to cause infringement or with willful

blindness to the resulting infringement because, despite the fact that Microsoft has had actual

knowledge of the ’094 Patent and that its acts were inducing its customers, partners, and end

users to infringe the ’094 Patent since at least the date it received the notice letter from ADI,

Microsoft continues to perform the ’094 Patent Accused Activities, continues to sell the ‘094

Patent Accused Products, and continues to provide these instructional videos, as well as other

instruction materials and training regarding the ’094 Patent Accused Products and ’094 Patent

Accused Activities.

       37.     ADI has been harmed by Microsoft’s infringing activities.

       38.     ADI notified Microsoft of its infringement of the ’094 Patent including an

identification of the particular infringing products and features, but Microsoft thereafter

continued to infringe the ’094 Patent by continuing the activities described in Paragraphs 27-36




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above. On information and belief, Microsoft has not obtained an opinion of counsel regarding

infringement or validity with respect to the claims of ‘094 Patent. Microsoft’s continued

infringement has therefore been in reckless disregard of ADI’s patent rights. On information and

belief, Microsoft’s infringement has been and continues to be willful.

                                         JURY DEMAND

       ADI demands a trial by jury on all issues triable as such.


                                     PRAYER FOR RELIEF

       WHEREFORE, ADI respectfully requests that this Court enter judgment for ADI and

against Defendant as follows:

       a.      An adjudication that Defendant has infringed the ’502 and ’094 patents;

       b.      An award of damages to be paid by Defendant adequate to compensate ADI for

Defendant’s past infringement of the ’502 Patent and ’094 Patent, and any continuing or future

infringement through the date such judgment is entered, including interest, costs, expenses and

an accounting of all infringing acts including, but not limited to, those acts not presented at trial;

       c.      An order requiring Defendant to pay an ongoing royalty in an amount to be

determined for any continued infringement after the date judgment is entered;

       d.      An award of treble damages under 35 U.S.C. § 284;

       e.      A declaration finding this to be an exceptional case, and awarding ADI attorney

fees under 35 U.S.C. § 285; and

       f.      For such further relief at law and in equity as the Court may deem just and proper.




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Dated: July 10, 2014              DEVLIN LAW FIRM LLC

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